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A 0 245B (Rev 06105) Sheet I - Judgmem in a Criminal Case


                             UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNEED STATES OF AMERICA                                        JUDGMENT IN A CRIMLNAL CASE
                                                               CASE NUMBER: 8:07-cr-137-T-30MSS
                                                               USM NUMBER: 49407-018



VICTOR DONNELL JOSHUA LEE
                                                               Defendant's Attomcy: Robcrt Hambrick, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE, TWO, and FOUR of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                           OFFENSE ENDED

21 U.S.C. 9s 846,841 (a)(l), and Conspiracy to Possess With Intent to           April 4,2007                        One
84l(b)(l)(A)                     Distribute Five Kilograms or More of
                                 Cocaine

21 U.S.C. $9 841(a)(l) and          Attempted Possession With Intent to         April 4,2007                        Two
 841(W)(A)                          Distribute Five Kilograms or More of
                                    Cocaine

18 U.S.C. $924 (c)                  Aiding and Abetting Another Person Who April 4,2007                             Four
                                    Carried a Fiream in Furtherance of a Drug
                                    TrafEcking Crime

       The defendant is sentenced as provided in pages 2 though 6 of this judgment. The sentence is imposedpursuantto the Sentencing
Reform Act of 1984.

-The defendant has been found not guilty on count(s)
-Count(s) is dismissed on the mohon of the United States.
IT IS FURTHER ORDERED that the defendant must notify the Umted States Attorney for this district mthm 30 days of any change of
name, residence, or mading address unhl all fines,restitution, costs, and special assessments unposed by h s judgment are i l l y pald.
If ordered to pay reshtution, the defendant must notify the court and United States Attorney of any material change in economc
circumstances.


                                                                                Date of Imposition of Sentence: January 15, 2008




                                                                                JA        S. MOODY. JR.


                                                                                DATE: January 2 , / 2C0 0 8
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A 0 245B (Rev 06/05) Sheet 2 - l~nprisoninent(Judgment in a Criminal Case)
Defendant:          VICTOR DONNELL JOSHUA LEE                                                                Judgment - Page 2of 6
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                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and EIGHTY (180) MONTHS. ONE HUNDRED and TWENTY (120) MONTHS
as to each of Counts One and Two of the Indictment, to be serve concurrently with each other and SIXTY (60)
MONTHS as to Count Four of the Indictment, to be served consecutively to Counts One and Two of the Indictment.




-
X The court makes the following recornmendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman (FL),
if possible. The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.



-
X The defendant is remanded to the custody of the United States marshal.
- The defendant shall surrender to the United States Marshal for this district.
        - at -a.m.!p.m. on -.
        -as notified by the United States Marshal.
- The defmdant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notitied by the United States Marshal.
          -as notitied by the Probation or Pretrial Services Office.


                                                                       RETURN

            I have executed this judgment as follows:




          Defendant delivered on                                            to
- at                                                                   , with a certified copy of this judgment.



                                                                                 United States Marshal


                                                                                         Deputy United States Marshal
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A 0 235B (Rev. 06/05) Sheet 3 - Supervised Release (Judgrncnt i n a Criminal Case)

Defendant:          VICTOR DOKNELL JOSHUA LEE                                                                     Judgment - Page 3of 6
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                                                          SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to each
of Counts One, Two, and Four of the Indictment, to be served concurrently to each other.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime. The defendant shall not unlawfUlly possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation ofticcr and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents a t d meet other family responsihilitics;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or ernploymcnt;

           the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation otticer;

           the defendant shall notify the probation otticer within seventy-two hours of being arrested or question4 by a law enforcement officer;

           the defendant shall not enter into any agrecmcnt to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteriszics and shall pennit the probation officer to make such notifications and to confirm the defendant's
           compliance with such notification requirement.
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A 0 245B (Rcv. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:         VICTOR DONNELL JOSHUA LEE                                                           Judgment - Page 4 of
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                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

         The defendant shall participate in a substance abuse program (outpatient andior inpatient) and follow te probation officer's
         instructiorls regarding the implementation of this court directive. Further, the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. During and upon completion of this program. the defendant is directed to submit to
         random drug testing.

         The defendant shall submit to a search of hrs person, residence, place of business. any storage units under his control, or vehicle,
         conducted by the United States Probation Officer at a reasonable time and in a reasonable manner. based upon reasonable
         suspicion of contraband or evidence of a violation of a condition of release: failure to submit to a search may be grounds for
         revocation: you shall inform any other residents that the premises may be subject to a search pursuant to this condition.

                                                                                                              .
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed 104 tests per year.
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 A 0 245B (Rcv 06!05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 Defendant:         V[CTOR DONNELL JOSHUA LEE                                                          Judgnent - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                            -
                                                                   Fine                      Total Restitution

          Totals:            $300.00                               W'aived                    N/A


 -        The determination of restitution is deferred until         .       An Amended Jrrdgnzerlt in a Crimird Case ( A 0 245C) will
          be entered after such detennination.

 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 5
          3664(i), all non-federal victims must be p a d before the z t e d States.


 Name of Pavee                                  Total Loss*                  Restitution Ordered                Prioritv or Percentape




                             Totals:            2 L                          L

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant rtlust pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. 3 36 12(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - h e      - restitution.

         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23. 1996.
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A 0 245B (Rev 06/05) Shcet 6 - Schcdule of Payments (Judgn~cntin a Criminal Case)

Defendant:         VICTOR DONNELL JOSHUA LEE                                                              Judgment - Page 6of 6
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                                                    SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X         Lump sum payment of $ 300.00 due immediately, balance due
                             -not later than                   , or

                             -in accordance -C, - D, - E or -F below; or
B.        -        Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.        -        Payment in equal          (e.g., weekly. monthly, quarterly) installments of $         over a period
                   of -(e.g., months or years). to commence            days (e.g.. 30 or 60 days) after the date of thls
                   j udgrnent; or
D.        -        Payment in equal               (e.g., weekly, monthly, quarterly) installments of $           over a period of
                               , ( e g , months or years) to conunence                    (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
F.        -        Special instructions regarding the payment of criminal monetary penalties:




                                                                                                           .
Unless the court has expressly ordered otherwise, if this judgment imposes impriso~unentpayment of criminal monetary
penalties is due during ~mprisonment. All criminal monetary penalties, except those ayments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk o f t e court.      \
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-         The defendant shall pay the followirlg court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal, ( 5 )
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
